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MINUTE ENTRY
MILAZZO, J.
MARCH 11, 2021

 JS-10: 00:55


                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF LOUISIANA

RENATA SINGLETON ET AL                                  CIVIL ACTION

VERSUS                                                  NO. 17-10721 “H”(1)

LEON A CANNIZZARO, JR ET AL


                               MOTION HEARING
                U.S. District Judge Jane Triche Milazzo presiding

CASE MANAGER: ERIN MOULEDOUS
COURT REPORTER: ALEXIS VICE
LAW CLERK: MONICA BERGERON

APPEARANCES: TARA MIKKILINENI & BRUCE HAMILTON, FOR PLAINTIFFS
                  MATTHEW J. PAUL & RALEY ALFORD , III, FOR DEFENDANTS,
                  GRAYMOND MARTIN, DAVID PIPES, LAURA RODRIGUE
                  JOHN ALFORD, FOR LEON CANNIZARO, JR.


Case called at 9:30 a.m.
Counsel appear by video.

The following motions are argued by counsel and taken under submission by the
Court:
       MOTION for Summary Judgment on Plaintiff's Claims Against Laura
       Rodrigue by Tiffany LaCroix (Doc. 326)
       MOTION for Summary Judgment on Tiffany LaCroix's Claims Against
       Individual Defendants by Graymond Martin, David Pipes, Laura Rodrigue
       (Doc. 327)

Court adjourned at 10:25 a.m.


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